Case 2:10-cv-02192-JWL-DJW Document 1 Filed 04/12/10 Page 1 of 7




                                              10-CV-2192 JWL/DJW
Case 2:10-cv-02192-JWL-DJW Document 1 Filed 04/12/10 Page 2 of 7
Case 2:10-cv-02192-JWL-DJW Document 1 Filed 04/12/10 Page 3 of 7
Case 2:10-cv-02192-JWL-DJW Document 1 Filed 04/12/10 Page 4 of 7
Case 2:10-cv-02192-JWL-DJW Document 1 Filed 04/12/10 Page 5 of 7
Case 2:10-cv-02192-JWL-DJW Document 1 Filed 04/12/10 Page 6 of 7
Case 2:10-cv-02192-JWL-DJW Document 1 Filed 04/12/10 Page 7 of 7
